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                          UNITED STATES DISTRICT COURT
11                      NORTHERN DISTRICT OF CALIFORNIA
12                             OAKLAND DIVISION

13
     IN RE PLUM BABY FOOD LITIGATION         Case No. 4:21-cv-00913-YGR
14
                                             Hon. Yvonne Gonzalez Rogers
15
     This Document Relates To: ALL ACTIONS   [PROPOSED] JUDGMENT
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                                 [PROPOSED] JUDGMENT
     Case 4:21-cv-00913-YGR       Document 266         Filed 04/05/24   Page 2 of 2



 1         Pursuant to, and for the reasons set forth in, the Court’s Order on March 28, 2024 (Dkt.
 2   No. 261) granting Defendant Plum, PBC’s (“Plum”) Motion for Summary Judgment (Dkt. No.
 3   210) JUDGEMENT IS HEREBY ENTERED in Plum’s favor, against Plaintiffs Sarah Brown,
 4   Josh Crawford, Jessica David, Autumn Ellison, Ludmila Gulkarov, Vanessa Mathiesen, Kelly
 5   McKeon, Tommy Nurre, and Janine Torrence WITH PREJUDICE.
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 8   DATED: April 5, 2024                             _____________________________________
                                                      The Honorable Yvonne Gonzalez Rogers
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                                                      United States District Judge
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                                      [PROPOSED] JUDGMENT
